    Case 23-01092-MBK                 Doc -2 Filed 04/28/23 Entered 04/28/23 21:20:43                          Desc
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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    PROPOSED ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11
                                                                    Case No.: 23-12825 (MBK)
    LTL MANAGEMENT LLC,1
                                                                    Judge: Michael B. Kaplan
                                Debtor.                             Hearing Date and Time:
                                                                    Pursuant to OST

                             ORDER GRANTING DEBTOR’S MOTION TO SEAL

             The relief set forth on the following page, numbered two (2), is hereby ORDERED.




1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.
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Debtor: LTL Management LLC
Case No. 23-12825-MBK
Caption: Order Granting Debtor’s Motion to Seal

        Upon the motion (the “Motion”) of LTL Management LLC (the “Debtor”), to seal the

Confidential Information; and the court having considered the request and any objection there to,

it is

        ☐        ORDERED that the request is denied, and the underlying document(s) shall be filed
                 on the court’s electronic filing system.


        ☐        ORDERED that the request is granted, and the document(s) shall be filed under
                 seal until the expiration of the judiciary records retention period at which time the
                 document will be permanently deleted.




NAI-1536726366
